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 1                                UNITED STATES DISTRICT COURT

  2                                     DISTRICT OF NEVADA
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 3     ANDRE DOW,                                          Case No.: 3:24-cv-00102-MMD-CSD
  4
 4                   Plaintiff,
  5                                                                        ORDER
 5            v.
  6                                                                    (ECF Nos. 1, 4)
 6     STATE OF NEVADA, et al.,
  7
 7                   Defendants.
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 8
  9          This action began with a pro se civil-rights complaint under 42 U.S.C. § 1983
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 10   submitted by state prisoner Andre Dow together with an incomplete application to proceed
10
 11   in forma pauperis (“IFP”). (ECF Nos. 1-1, 1). On March 8, 2024, this Court ordered pro se
11
 12   plaintiff Andre Dow to either pay the full $405 filing fee or complete his IFP application by
12
 13   filing a financial certificate and an inmate trust fund account statement for the previous
13
 14   six-month period by May 7, 2024. (ECF No. 3). Plaintiff timely filed a second IFP
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 15   application, but it is incomplete because Plaintiff did not submit a financial certificate that
15
 16   is properly signed both by the inmate and an authorized prison official and an inmate trust
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 17   fund account statement with it. (ECF No. 4). The Court denies Plaintiff’s first and second
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 18   IFP applications because they are incomplete. But it finds that good cause exists to set a
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 19   final deadline for Plaintiff to either pay the full $405 filing fee or file a new fully complete
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 20   IFP application.
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 21          It is therefore ordered that the first and second applications to proceed in forma
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 22   pauperis (ECF Nos. 1, 4) are denied without prejudice.
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 23          It is further ordered that Plaintiff has until July 1, 2024, to either pay the full $405
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 24   filing fee or file a new fully complete application to proceed in forma pauperis with all three
24
 25   required documents: (1) a completed application with the inmate’s two signatures on page
25
 26   3, (2) a completed financial certificate that is signed both by the inmate and the prison or
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 27   jail official, and (3) a copy of the inmate’s trust fund account statement for the previous
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 28   six-month period.
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 1           Plaintiff is cautioned that this action will be subject to dismissal without prejudice if

  2   he fails to timely comply with this order. A dismissal without prejudice allows Plaintiff to
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  3   refile the case with the Court, under a new case number, when he can file a complete
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  4   application to proceed in forma pauperis or pay the required filing fee.
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  5          The Clerk of the Court is directed to resend Plaintiff Andre Dow the approved form
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  6   application to proceed in forma pauperis for an inmate and instructions for the same.
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  8          DATED THIS 31st day of May 2024.
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10                                                UNITED STATES MAGISTRATE JUDGE
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